Case 1:18-cv-01532-DLF Document 23-12 Filed 04/25/19 Page 1 of 5




EXHIBIT 12
         Case
          Case1:18-cv-01532-DLF
                1:15-mj-00847-JSR Document
                                   Document23-12 Filed04/30/15
                                            26 Filed   04/25/19 Page
                                                                 Page1 2ofof4 5



From Vladimir Yevgenievich Khochinsky, born on             , 1973
Place of birth: city of Uman’, Cherkasskaya Oblast’, Soviet Socialist Republic of Ukraine
Citizenship: the Russian Federation
Sex: male
Passport                  , issued by the Department of Internal Affairs of Oktyabr’sky Region, town of
Ivanovo on February 27, 2002
Residing at          , Russian Federation, Ivanovskaya Oblast’, town of Ivanovo,



To Whom It May Concern

                                              DECLARATION

Due to the ongoing dispute in the USA with Alexander Yakovlevich Khochinsky, born on                  ,
1951, currently residing at                             , New York, NY        , USA, about rights of
ownership to the painting by Antoine Pesne “Girl with Dove”, during which his rights could be violated, I
am asking you to accept the following information as evidence that could play a significant role in the
resolution of this dispute.

[photograph of Alexander Khochinsky with the painting]

I, Vladimir Yevgenievich Khochinsky, state that Alexander Yakovlevich Khochinsky, who is depicted in
this photograph next to the painting, is in fact, Yevgeny Yakovlevich Khochinsky’s (1946-2011) brother,
i.e. my uncle.

I recognize the painting he is standing next to because I saw it on numerous occasions in my
grandmother’s and my grandfather’s apartment in Leningrad prior to 1991.

After my uncle Alexander and his wife Tatiana moved to Moscow and opened an antique store
“Boghema” in 2001 we often came to Moscow and when we went to their antique store “Boghema” we
saw the painting hanging on the wall there.

In 2010 my uncle Alexander Yakovlevich Khochinsky left permanently for the USA. I have not been in
”Boghema” since and have not seen the painting.

I declare under penalty of perjury under the laws of the United States of America that the above is true
and correct.

Executed on April 2, 2015

Attached:

    1. Copy of my passport

Khochiinsky V. Y.

signed
Case
 Case1:18-cv-01532-DLF
       1:15-mj-00847-JSR Document
                          Document23-12 Filed04/30/15
                                   26 Filed   04/25/19 Page
                                                        Page2 3ofof4 5
Case
 Case1:18-cv-01532-DLF
       1:15-mj-00847-JSR Document
                          Document23-12 Filed04/30/15
                                   26 Filed   04/25/19 Page
                                                        Page3 4ofof4 5
Case
 Case1:18-cv-01532-DLF
       1:15-mj-00847-JSR Document
                          Document23-12 Filed04/30/15
                                   26 Filed   04/25/19 Page
                                                        Page4 5ofof4 5
